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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 24-cv-22212

   RUN-TIGER LLC, d/b/a RUN-CHICKEN,

          Plaintiff,

   v.

   THE INDIVIDUALS, CORPORATIONS,
   LIMITED LIABILITY COMPANIES, PARTNERSHIPS,
   AND UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE A TO THE COMPLAINT,

         Defendants.
   ___________________________________________________/

                                               COMPLAINT

          Plaintiff Run-Tiger LLC, d/b/a Run-Chicken (“Plaintiff” or “RUN-CHICKEN”), hereby

   alleges as follows against the individuals, corporations, limited liability companies, partnerships,

   and unincorporated associations and foreign entities identified on Schedule A (collectively,

   “Defendants”):

                                                Introduction

          1.        This action has been filed by Plaintiff to combat online counterfeiters who trade

   upon Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection

   with the RUN-CHICKEN copyrights, which are covered by at least U.S. Copyright Office

   Registrations No. VA 2-330-811 and No. VA 2-330-915, each of which are registrations of

   photographs of Plaintiff’s automatic chicken coop doors (the “RUN-CHICKEN IMAGES

   Copyrights”); and the RUN-CHICKEN trademarks, which are covered by U.S. Trademark

   Registration Nos. 6,454,213 and 6,939,573 (the “RUN-CHICKEN Trademarks”).

          2.        The registrations are valid, subsisting, and in full force and effect. True and correct


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   copies of the federal copyright registration certificates for the RUN-CHICKEN IMAGES

   Copyrights are attached hereto as Exhibit 1. True and correct copies of the federal trademark registration

   certificates for the RUN-CHICKEN Trademarks, as well as a printout from the USPTO website evidencing

   Plaintiff as the owner of the RUN-CHICKEN Trademarks are attached hereto as Exhibit 2.

           3.      Defendants are improperly advertising, marketing, and/or selling unauthorized and

   illegal products infringing upon Plaintiff’s RUN-CHICKEN IMAGES Copyrights and RUN-

   CHICKEN Trademarks (the “Counterfeit Products”). By selling Counterfeit Products that purport

   to be genuine and authorized products using the RUN-CHICKEN IMAGES Copyrights and RUN-

   CHICKEN Trademarks (the “RUN-CHICKEN Products”), Defendants cause confusion and

   deception in the marketplace.

           4.      The Defendants create numerous fully interactive commercial internet stores

   operating under the online marketplace accounts identified in Schedule A attached hereto

   (collectively, the “Defendant Internet Stores”), including on the platforms Alibaba.com

   (“Alibaba”);    AliExpress.com       (“AliExpress”),     Amazon.com       (“Amazon”),       DHgate.com

   (“DHgate”), eBay.com (“eBay”), Walmart.com (“Walmart”), and Wish.com (“Wish”)

   (collectively, the “Marketplace Platforms”).

           5.      The Defendants design the online marketplace accounts to appear to be selling

   genuine RUN-CHICKEN Products, while selling inferior imitations of such products.

           6.      The Defendant Internet Stores share unique identifiers, such as design elements and

   similarities of the counterfeit products offered for sale, establishing a logical relationship between

   them, and suggesting that Defendants’ illegal operations arise out of the same transaction,

   occurrence, or series of transactions or occurrences.

           7.      Defendants attempt to avoid liability by going to great lengths to conceal both their

   identities and the full scope and interworking of their illegal counterfeiting operation. Plaintiff is

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   forced to file this action to combat Defendants’ counterfeiting of the RUN-CHICKEN IMAGES

   Copyrights and RUN-CHICKEN Trademarks, as well as to protect unknowing consumers from

   purchasing Counterfeit Products.

           8.      As a result of Defendants’ actions, Plaintiff has been and continues to be irreparably

   damaged through consumer confusion, dilution, and tarnishing of its valuable trademark,

   copyright, and goodwill and, therefore, seeks injunctive and monetary relief.

           9.      This Court has personal jurisdiction over each Defendant, in that each Defendant

   conducts significant business in Florida and in this Judicial District, and the acts and events giving

   rise to this lawsuit of which each Defendant stands accused were undertaken in Florida and in this

   Judicial District.

           10.     In addition, each Defendant has offered to sell and ship infringing products into this

   Judicial District.

                                       Subject Matter Jurisdiction

           11.     This Court has original subject matter jurisdiction over the copyright claim pursuant

   to the Copyright Laws of the United States, 17 U.S.C. § 101 et seq., 28 U.S.C. § 1338(a)–(b), and

   28 U.S.C. § 1331.

           12.     This Court has original subject matter jurisdiction over the trademark infringement

   claim in this action pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28

   U.S.C. § 1338(a)–(b), and 28 U.S.C. § 1331.

                                    Personal Jurisdiction and Venue

           13.     Personal jurisdiction exists over Defendants in this Judicial District pursuant to Fla.

   Stat. § 48.193 (1)(a)(1)–(2) and Fla. Stat. § 48.193 (1)(a)(6), or in the alternative, Fed. R. Civ. P.
   4(k) because, upon information and belief, Defendants regularly conduct, transact, and/or solicit

   business in Florida and in this Judicial District; derive substantial revenue from business

   transactions in Florida and in this Judicial District; and/or otherwise avail themselves of the
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   privileges and protections of the laws of the State of Florida such that this Court’s assertion of

   jurisdiction over Defendants does not offend traditional notions of fair play and due process.

           14.     In addition, Defendants’ illegal counterfeiting and infringing actions have caused
   injury to Plaintiff in Florida and in this Judicial District such that Defendants should reasonably

   expect such actions to have consequences in Florida and this Judicial District.

           15.     For example, Defendant Internet Stores accept orders of Counterfeit Products from

   and offer shipping to Florida addresses located in this Judicial District. Screen shots of the

   shopping cart allowing Counterfeit Products from Defendant Internet Stores to be shipped to
   Florida are attached as Exhibit 3 to the Declaration of Jure Markic (“Markic Decl.”), which will
   be filed with Plaintiff’s Memorandum in Support of Plaintiff’s Ex Parte Motion for Temporary

   Restraining Order.

           16.     Moreover, upon information and belief, Defendants were and/or are systematically

   directing and/or targeting their business activities at consumers in the U.S., including those in
   Florida, in this Judicial District, through accounts (the “User Account(s)”) on e-commerce sites

   including the Marketplace Platforms, as well as any and all as yet undiscovered User Accounts

   with additional online marketplace platforms held by or associated with Defendants, their

   respective officers, employees, agents, servants and all persons in active concert or participation

   with any of them. Through these User Accounts, consumers in the U.S., including Florida (and
   more particularly, in this Judicial District), can view the marketplace accounts that each Defendant

   operates, uses to communicate with Defendants regarding their listings for Counterfeit Products,

   and to place orders for, receive invoices for and purchase Counterfeit Products for delivery in the

   United States, including Florida (and more particularly, in this Judicial District), as a means for

   establishing regular business with the U.S., including Florida (and more particularly, in this
   Judicial District).

           17.     Defendants have transacted business with consumers located in the United States,

   including Florida (and more particularly, in this Judicial District), for the sale and shipment of

   Counterfeit Products.


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          18.     Venue is proper in this Court pursuant to at least 28 U.S.C. §§ 1391(b)(2) and

   1400(a) because Defendants have committed acts of copyright infringement in this Judicial District

   and do substantial business in the Judicial District.
                                               The Plaintiff

          19.     Plaintiff Run-Tiger LLC is a Slovenian limited liability company with its principal

   place of business in Ljubljana, Slovenia.

          20.     Plaintiff is the registered owner of the RUN-CHICKEN IMAGES Copyrights
   (attached as Exhibit 1), as follows:


       Copyright Reg. No.                          Copyright                     Registration Date

          VA 2-330-811                           Chicken Door                    November 30, 2022

          VA 2-330-915                RUN-CHICKEN PHOTOGRAPHS                    December 13, 2022

          21.     Plaintiff is the registered owner of the RUN-CHICKEN Trademarks (attached as
   Exhibit 2) as follows:

   U.S. TM Reg. No.                               Trademark                      Registration Date

             6,454,213                     RUN-CHICKEN (Class 6)                     August 17, 2021

             6,939,573                    RUN-CHICKEN (Class 35)                     January 3, 2023

                                             The Defendants

          22.     Defendants are individuals and business entities who, upon information and belief,

   reside mainly in the People’s Republic of China or other foreign jurisdictions.

          23.     Defendants are merchants on online e-commerce platforms, including the

   Marketplace Platforms.
                                    The RUN-CHICKEN Products

          24.    Jure Markic, an engineer and entrepreneur, established Plaintiff Run-Tiger LLC in

   2018, with the goal of developing, designing, and creating high-quality utility products.

          25.    In January 2020, Plaintiff launched the Model T12, the first RUN-CHICKEN

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   automatic chicken coop door. The commercial success of the Model T12 inspired Mr. Markic and

   his team to develop an improved product, and in March 2020, Plaintiff launched the Model T40,

   which became a bestseller on Plaintiff’s website and on third-party e-commerce platforms like

   Amazon.

          26.    Plaintiff subsequently developed and launched the Model T50, which includes a

   new, built-in programming feature enabling consumers to automate the product’s opening times.

   Like its predecessor, the Model T50 has earned bestseller status on third-party e-commerce

   platforms like Amazon.




          27.    Through Mr. Markic’s continued innovation and creativity, Plaintiff’s RUN-

   CHICKEN Products have garnered a substantial customer base and international reputation

   because of their advanced technology and high-quality designs.

          28.    Plaintiff has obtained copyright registrations for images of its RUN-CHICKEN

   Products, which are covered by at least U.S. Copyright Office Registration Nos. VA 2-330-811

   and VA 2-330-915. Exemplary units of the RUN-CHICKEN IMAGES have been deposited with

   the United States Copyright Office and remain available for inspection there.

          29.    From the date of the creation of the first RUN-CHICKEN Products to the present,


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   Plaintiff is and has been the sole and official source of genuine RUN-CHICKEN Products in the

   United States. Plaintiff sells RUN-CHICKEN Products through Plaintiff’s website, www.run-

   chicken.com, and through online retailers including Amazon and eBay.

          30.    Since at least 2019, the RUN-CHICKEN Trademarks are and have been the subject

   of substantial and continuous marketing and promotion by Plaintiff. Plaintiff has and continues to

   widely market and promote the RUN-CHICKEN Trademarks in the industry and to consumers.

   Plaintiff promotes RUN-CHICKEN Products through its website (https://run-chicken.com/).

   Plaintiff also extensively promotes RUN-CHICKEN Products through online advertisement

   campaigns on, among other platforms, Amazon, Google, Instagram, and TikTok.

          31.    The RUN-CHICKEN Trademarks are distinctive and identify the artwork as

   originating from Plaintiff. Plaintiff’s typical practice is to tie its name to its marketing of RUN-

   CHICKEN Products. For example, RUN-CHICKEN Products sold on Amazon—including the

   above-depicted Model T50—all bear at least the trademark “RUN-CHICKEN,” in addition to

   embodying one or more of the RUN-CHICKEN Copyright Registration or RUN-CHICKEN

   Trademarks.

          32.    The registrations for the RUN-CHICKEN Trademarks constitutes prima facie

   evidence of their validity and of Plaintiff’s exclusive right to use that trademark pursuant to 15

   U.S.C. § 1057(b).


          33.    The RUN-CHICKEN Trademarks qualify as a famous mark, as that term is used in

   15 U.S.C. §1125 (c)(1), and they have been continuously used and never abandoned.

          34.    Plaintiff has expended substantial time, money, and other resources in developing,

   advertising, and otherwise promoting the RUN-CHICKEN Products.

          35.    Plaintiff owns all rights, including without limitation, the rights to reproduce the

   copyrighted works in copies, to prepare derivative works based upon the copyrighted works, and
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   to distribute copies of the copyrighted works to the public by sale or other transfer of ownership,

   or by rental, lease, or lending, in the RUN-CHICKEN IMAGES Copyrights as the owner of those

   copyrights.

                                 The Defendants’ Unlawful Conduct

          36.     The success of the RUN-CHICKEN Products has resulted in significant

   counterfeiting. Plaintiff has identified numerous Defendant Internet Stores linked to fully

   interactive websites on e-commerce sites including the Marketplace Platforms. These Defendant

   Internet Stores offer for sale, sell, and import Counterfeit Products to consumers in this Judicial

   District and throughout the United States.

          37.     Defendants have persisted in creating such online marketplaces and internet stores,

   like the Defendant Internet Stores. In fact, such online marketplaces and stores are estimated to

   receive tens of millions of visits per year and to generate over $135 billion in annual online sales.

   According to an intellectual property rights seizures statistics report issued by the United States

   Department of Homeland Security, the manufacturer’s suggested retail price of goods seized by

   the U.S. government in fiscal year 2020 was over $1.3 billion. Websites like the Defendant Internet

   Stores are also estimated to contribute to tens of thousands of lost jobs for legitimate businesses

   and broader economic damages such as lost tax revenue every year.

          38.     On personal knowledge and belief, Defendants facilitate sales by designing the

   Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

   retailers, outlet stores, or wholesalers selling genuine RUN-CHICKEN Products. Many of the

   Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards,

   Western Union, and PayPal. Defendant Internet Stores often include images and design elements

   that make it very difficult for consumers to distinguish such counterfeit sites from an authorized

   website.

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           39.     Defendants further perpetuate the illusion of legitimacy by offering “live 24/7”

   customer service and using indicia of authenticity and security that consumers have come to

   associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

   MasterCard®, and PayPal® logos.

           40.     Plaintiff has not licensed or authorized Defendants to use the RUN-CHICKEN

   IMAGES Copyrights or the RUN-CHICKEN Trademarks. None of the Defendants is an

   authorized retailer of genuine RUN-CHICKEN Products.

           41.     On personal knowledge and belief, Defendants also deceive unknowing consumers

   by using without authorization the RUN-CHICKEN IMAGES Copyrights and the RUN-

   CHICKEN Trademarks within the product descriptions, content, text, and/or meta tags of their

   websites to attract various search engines crawling the Internet looking for websites relevant to

   consumer searches for RUN-CHICKEN Products. Additionally, upon information and belief,

   Defendants use other unauthorized search engine optimization (“SEO”) tactics and social media

   spamming so that the Defendant Internet Stores listings show up at or near the top of relevant

   search results and misdirect consumers searching for genuine RUN-CHICKEN Products. Further,

   Defendants utilize similar illegitimate SEO tactics to propel new domain names to the top of search

   results after others are shut down. As such, Plaintiff also seeks to disable the Defendant Internet

   Stores owned and/or operated by Defendants that are the means by which the Defendants could

   continue to sell Counterfeit Products into this Judicial District.

           42.     On information and belief, Defendants go to great lengths to conceal their identities

   and often use multiple fictitious names and addresses to register and operate their massive network

   of Defendant Internet Stores. For example, it is common practice for counterfeiters to register their

   domain names and/or User Accounts with incomplete information, randomly typed letters, or

   omitted cities or states.
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          43.     On personal knowledge and belief, Defendants regularly create new websites and

   online marketplace accounts on various platforms using the identities listed in Schedule A to the

   Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

   Store registration patterns are one of many common tactics used by the Defendants to conceal their

   identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

   being shut down.

          44.     On personal knowledge and belief, even though Defendants operate under multiple

   fictitious names, there are numerous similarities among the Defendants’ Internet Stores. For

   example, some of the Defendant marketplace websites have virtually identical layouts, even

   though different aliases were used to register the respective domain names.

          45.     In addition, the Counterfeit Products for sale in the Defendants’ Internet Stores bear

   similarities and indicia of being related to one another, suggesting that the Counterfeit Products

   were manufactured by and come from a common source and that, upon information and belief,

   Defendants are interrelated.

          46.     The Defendants’ Internet Stores also include other notable common features,

   including accepted payment methods, check-out methods, metadata, illegitimate SEO tactics,

   HTML user-defined variables, domain redirection, lack of contact information, identically or

   similarly priced items and volume sales discounts, similar hosting services, similar name servers,

   and the use of the same text and images.

          47.     In addition, Defendants in this case and defendants in other similar cases against

   online counterfeiters use a variety of other common tactics to evade enforcement efforts. For

   example, counterfeiters like Defendants will often register new online marketplace accounts under




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   User Accounts once they receive notice of a lawsuit. 11

          48.     Counterfeiters also often move website hosting to rogue servers located outside the

   United States once notice of a lawsuit is received. Rogue servers are notorious for ignoring take

   down demands sent by brand owners. 2

          49.     Counterfeiters also typically ship products in small quantities via international mail

   to minimize detection by U.S. Customs and Border Protection. A 2012 U.S. Customs and Border

   Protection report on seizure statistics indicated that the Internet has fueled “explosive growth” in

   the number of small packages of counterfeit goods shipped through the mail and express carriers.

          50.     Further, counterfeiters such as Defendants typically operate multiple credit card

   merchant accounts and PayPal accounts behind layers of payment gateways so that they can

   continue operation in spite of Plaintiff’s enforcement efforts.

          51.     On personal knowledge and belief, Defendants maintain off-shore bank accounts

   and regularly move funds from their PayPal accounts to off-shore bank accounts outside the

   jurisdiction of this Court. Indeed, analysis of PayPal transaction logs from previous similar cases

   indicates that offshore counterfeiters regularly move funds from U.S.-based PayPal accounts to

   foreign-based bank accounts outside the jurisdiction of this Court.

          52.     Defendants, without any authorization or license from Plaintiff, have knowingly

   and willfully used and continue to use the RUN-CHICKEN IMAGES Copyrights and the RUN-

   CHICKEN Trademarks in connection with the advertisement, distribution, offering for sale, and

   sale of Counterfeit Products into the United States and Florida over the Internet.


   1
     https://www.ice.gov/news/releases/buyers-beware-ice-hsi-and-cbp-boston-warn-consumers-
   about-counterfeit-goods-during (noting counterfeiters are adept at “setting up online stores to lure
   the public into thinking they are purchasing legitimate good on legitimate websites”).
   2
     While discussed in the context of false pharma supply chains, rogue internet servers and sellers
   are a well-known tactic that have even been covered in congressional committee hearings.
   https://www.govinfo.gov/content/pkg/CHRG-113hhrg88828/html/CHRG-113hhrg88828.htm.
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           53.    Each Defendant Internet Store offers shipping to the United States, including

   Florida (in this Judicial District) and, on information and belief, each Defendant has offered to sell

   counterfeit RUN-CHICKEN Products into the United States, including Florida (in this Judicial

   District).

           54.    Defendants’ use of the RUN-CHICKEN IMAGES Copyrights and the RUN-

   CHICKEN Trademarks in connection with the advertising, distribution, offering for sale, and sale

   of Counterfeit Products is likely to cause and has caused confusion, mistake, and deception by and

   among consumers and is irreparably harming Plaintiff.

           55.    Prior to and contemporaneous with their counterfeiting and infringing actions

   alleged herein, Defendants had knowledge of Plaintiff’s ownership of the RUN-CHICKEN

   IMAGES Copyrights and the RUN-CHICKEN Trademarks, of the fame and incalculable goodwill

   associated therewith and of the popularity and success of the RUN-CHICKEN Products, and in

   bad faith proceeded to manufacture, market, develop, offer to be sold, and/or sell the Counterfeit

   Products.

           56.    Defendants have been engaging in the illegal counterfeiting and infringing actions,

   as alleged herein, knowingly and intentionally, or with reckless disregard or willful blindness to

   Plaintiff’s rights, or in bad faith, for the purpose of trading on the goodwill and reputation of

   Plaintiff and the RUN-CHICKEN Products.

                                     FIRST CAUSE OF ACTION

                     COPYRIGHT INFRINGEMENT (17 U.S.C. § 101, et seq.)

                  [Against Defendants Designated in Schedule A to the Complaint]

           57.    Plaintiff repeats and incorporates by reference herein its allegations contained in
   Paragraphs 1–56 of this Complaint.

           58.    Plaintiff owns all exclusive rights, including without limitation the rights to

   reproduce the copyrighted works in copies, to prepare derivative works based upon the copyrighted
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   works, and to distribute copies of the copyrighted works to the public by sale or other transfer of

   ownership, or by rental, lease, or lending, in the RUN-CHICKEN IMAGES Copyrights. The

   United States Registrations for the RUN-CHICKEN IMAGES Copyrights (Exhibit 1) are in full
   force and effect.

          59.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

   still selling, offering to sell, marketing, distributing, and advertising products in connection with

   the RUN-CHICKEN IMAGES Copyrights without Plaintiff’s permission.

          60.     Defendants had access to the RUN-CHICKEN Products incorporating Plaintiff’s
   registered copyrights before Defendants created the Defendant Internet Stores.

          61.     Upon information and belief, Defendants have directly copied the RUN-CHICKEN

   IMAGES Copyrights. Alternatively, Defendants’ representations of Plaintiff’s copyrights for the

   RUN-CHICKEN Products in the online marketplace accounts are strikingly similar, or at the very

   least substantially similar to the RUN-CHIKEN IMAGES Copyrights, and constitute unauthorized
   copying, reproduction, distribution, creation of a derivative work, and/or public display of

   Plaintiff’s copyrights for the RUN-CHICKEN Products.

          62.     As just one example, Defendants deceive unknowing consumers by using the RUN-

   CHICKEN IMAGES Copyrights without authorization within the product descriptions of their

   online marketplace accounts to attract customers as follows:




                  Exemplary Images of Plaintiff’s Registered RUN-CHICKEN Images



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                  Compared to Exemplary Counterfeit Products Offered by Defendants

          63.     Defendants’ exploitation of Plaintiff’s copyrights for the RUN-CHICKEN Products

   in the Defendant Internet Stores constitutes infringement of the RUN-CHICKEN IMAGES

   Copyrights.
          64.     On information and belief, Defendants’ infringing acts were willful, deliberate, and

   committed with prior notice and knowledge of Plaintiff’s Copyrights. Each Defendant willfully,

   wantonly, and in conscious disregard and intentional indifference to the rights of Plaintiff made

   and distributed in the United States, including this District, caused to be made and distributed in

   the United States, including this District, and aided, abetted, contributed to, and participated in the
   unauthorized making and distribution of Counterfeit Products.
          65.     Each Defendant either knew, or should have reasonably known, that Plaintiff’s

   RUN-CHICKEN Products were protected by copyright and that their representations infringed on

   Plaintiff’s copyrights. Each Defendant continues to infringe upon Plaintiff’s rights in and to the

   various copyrighted works.
          66.     As a direct and proximate result of their wrongful conduct, Defendants have

   realized and continue to realize profits and other benefits rightfully belonging to Plaintiff.

   Accordingly, Plaintiff seeks an award of damages pursuant to 17 U.S.C. § 504.

          67.     In addition to Plaintiff’s actual damages, Plaintiff is entitled to receive the profits

   made by the Defendants from their wrongful acts, pursuant to 17 U.S.C. § 504(b). Each Defendant

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   should be required to account for all gains, profits, and advantages derived by each Defendant

   from their acts of infringement.

          68.     In the alternative, Plaintiff is entitled to, and may elect to choose statutory damages
   pursuant to 17 U.S.C. § 504(c), which should be enhanced by 17 U.S.C. § 504(c)(2) because of

   Defendants’ willful copyright infringement.

          69.     Plaintiff is entitled to, and may elect to choose, injunctive relief under 17 U.S.C. §

   502, enjoining any use or exploitation by Defendants of their infringing work and for an order

   under 17 U.S.C. § 503 that any of Defendants’ infringing products be impounded and destroyed.
          70.     Plaintiff seeks and is also entitled to recover reasonable attorneys’ fees and costs of

   suit pursuant to 17 U.S.C. § 505.

          71.     Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

   enjoined, Plaintiff will continue to suffer irreparable harm to their reputation and the goodwill of

   its well-known RUN-CHICKEN Copyrights.
                                      SECOND CAUSE OF ACTION

        TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

                           [Against Defendants Designated in Schedule A]

          72.     Plaintiff repeats and incorporates by reference herein its allegations contained in

   Paragraphs 1–56 of this Complaint.
          73.     This is a trademark infringement action against Defendants based on their
   unauthorized use in commerce of counterfeit imitations of the registered RUN-CHICKEN

   Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

   infringing goods. The RUN-CHICKEN Trademarks are highly distinctive marks. Consumers have

   come to expect the highest quality from Plaintiff’s products provided under the RUN-CHICKEN

   Trademarks.

          74.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

   still selling, offering to sell, marketing, distributing, and advertising products in connection with

   the RUN-CHICKEN Trademarks without Plaintiff’s permission.

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          75.     Plaintiff is the registered owner of the RUN-CHICKEN Trademarks. The United

   States Registrations for the RUN-CHICKEN Trademarks (Exhibit 2) are in full force and effect.

   Upon information and belief, Defendants have knowledge of Plaintiff’s rights in the RUN-
   CHICKEN Trademarks and are willfully infringing and intentionally using counterfeits of the

   RUN-CHICKEN Trademarks. Defendants’ willful, intentional, and unauthorized use of the RUN-

   CHICKEN Trademarks is likely to cause and is causing confusion, mistake, and deception as to

   the origin and quality of the counterfeit goods among the general public.

          76.     Defendants’ activities constitute willful trademark infringement and counterfeiting
   under 15 U.S.C. §§ 1114, 1117.

          77.     The injuries and damages sustained by Plaintiff have been directly and proximately

   caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

   sale of counterfeit RUN-CHICKEN Products.

          78.     Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not
   enjoined, Plaintiff will continue to suffer irreparable harm to their reputation and the goodwill of

   its well-known RUN-CHICKEN Trademarks.
                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as

   follows:

          1.      That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under, or in active concert with them

   be temporarily, preliminarily, and permanently enjoined and restrained from:

                          a.   using the RUN-CHICKEN IMAGES Copyrights and RUN-

          CHICKEN Trademarks or any reproductions, counterfeit copies, or colorable imitations

          thereof in any manner in connection with the distribution, marketing, advertising, offering

          for sale, or sale of any product that is not a genuine RUN-CHICKEN Product or is not

          authorized by Plaintiff to be sold in connection with the RUN-CHICKEN IMAGES

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         Copyrights and RUN- CHICKEN Trademarks;

                        b.    passing off, inducing, or enabling others to sell or pass off any product

         as a genuine RUN-CHICKEN Product or any other product produced by Plaintiff that is

         not Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

         and approved by Plaintiff for sale under the RUN-CHICKEN IMAGES Copyrights and

         RUN-CHICKEN Trademarks;

                        c.    committing any acts calculated to cause consumers to believe that

         Defendants’ Counterfeit Products are those sold under the authorization, control, or

         supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with

         Plaintiff;

                        d.    further infringing the RUN-CHICKEN IMAGES Copyrights and/or

         RUN- CHICKEN Trademarks and damaging Plaintiff’s goodwill;


                        e.    shipping, delivering, holding for sale, transferring, or otherwise

         moving, storing, distributing, returning, or otherwise disposing of, in any manner, products

         or inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

         offered for sale, and which copy the RUN- CHICKEN IMAGES Copyrights and RUN-

         CHICKEN Trademarks or any reproductions, counterfeit copies, or colorable imitations

         thereof;

                        f.    using, linking to, transferring, selling, exercising control over, or

         otherwise owning any online marketplace accounts, the Defendant Internet Stores, or any

         other domain name or online marketplace account that is being used to sell or is the means

         by which Defendants could continue to sell Counterfeit Products; and

                        g.    operating and/or hosting online marketplace accounts at the


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          Defendant Internet Stores that are involved with the distribution, marketing, advertising,

          offering for sale, or sale of any product embodying the RUN- CHICKEN IMAGES

          Copyrights and RUN-CHICKEN Trademarks or any reproduction, counterfeit copy or

          colorable imitation thereof that is not a genuine RUN-CHICKEN Product or not authorized

          by Plaintiff to be sold in connection with the RUN-CHICKEN IMAGES Copyrights and

          RUN- CHICKEN Trademarks.

          2.     Entry of an Order that the Marketplace Platforms, including without limitation

   Alibaba, AliExpress, Amazon, DHgate, eBay, Walmart, Wish, and any other online marketplace

   account through which Defendants are selling Counterfeit Products:

                         a.    disable and cease providing services for any accounts through which

          Defendants sell Counterfeit Products, including any accounts associated with the

          Defendants listed on Schedule A;

                         b.    disable and cease displaying any advertisements used by or associated

          with Defendants in connection with their sale of Counterfeit Products; and

                         c.    take all steps necessary to prevent links to the Defendant Internet

          Stores identified on Schedule A from displaying in search results, including, but not limited

          to, removing links to the Defendant Internet Stores from any search index.

          3.     That Defendants account for and pay to Plaintiff all profits realized by Defendants

   by reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of the RUN-CHICKEN Trademarks be increased by a sum not exceeding three times

   the amount thereof as provided by 15 U.S.C. § 1117;

          4.     In the alternative, that Plaintiff be awarded statutory damages of not more than

   $30,000 for each and every infringement of the RUN-CHICKEN IMAGES Copyrights pursuant

   to 17 U.S.C. § 504(c), which should be enhanced to a sum of not more than $150,000 by 17 U.S.C.
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   § 504(c)(2) because of Defendants’ willful copyright infringement and not less than $1,000 and

   not more than $2,000,000 for each and every use of the RUN-CHICKEN Trademarks and statutory

   damages of not less than $750 pursuant to 15 U.S.C. § 1117(c);

          5.     That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

          6.     Award any and all other relief that this Court deems just and proper.



   Dated: June 7, 2024                                   Respectfully submitted,

                                                         BOIES SCHILLER FLEXNER LLP


                                                   By:      /s/Rossana Baeza
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